               Case 2:11-cr-00449-KJM Document 141 Filed 06/13/12 Page 1 of 2


 1
 2
 3
 4
 5
 6
 7
 8                                UNITED STATES DISTRICT COURT
 9                               EASTERN DISTRICT OF CALIFORNIA
10
11 UNITED STATES OF AMERICA,
                                                         NO. CR. S-11-00449 KJM
12                  Plaintiff,
13           v.                                          ORDER
14 HOMERO LOPEZ-BARRON,
15               Defendant.
     ________________________________/
16
17                  On December 20, 2011, the court adopted the parties’ stipulation and ordered this
18 matter referred to the Federal Bureau of Prisons for a psychiatric or psychological examination.
19 The stipulation referenced an evaluation of defendant conducted in December 2011 by Dr.
20 Jeffrey Miller. Dr. Miller tested defendant for mental retardation, and diagnosed him with mild
21 mental retardation. See ECF 73. Based on the court’s order, the Bureau of Prisons arranged for
22 clinical psychologist Dr. Gordon Zilberman to conduct a competency evaluation to determine
23 whether the defendant is competent to stand trial, as provided by 18 U.S.C. § 4241(b). ECF 136
24 (sealed).
25                  Dr. Zilberman examined the defendant and produced a report to the court. That
26 report has been filed under seal. It complies with the requirements of 18 U.S.C. § 4247(c), and
27 concludes that defendant is competent to stand trial, subject to periodic confirmation of his
28 understanding of the judicial process. See ECF 137 (sealed).
              Case 2:11-cr-00449-KJM Document 141 Filed 06/13/12 Page 2 of 2


 1                 On June 6, 2012, the parties appeared before the court for a competency hearing.
 2 Defendant was present in custody with his defense counsel, Christopher Hadyn-Myer; defendant
 3 was assisted by Mauri Fitzgibbon, certified Spanish language interpreter. Assistant United
 4 States Attorney Michael Anderson was present for the government. The parties submitted on Dr.
 5 Zilberman’s report, without oral argument.
 6                 The court has read and carefully considered Dr. Zilberman’s report. The court
 7 finds that the defendant is able to understand the nature and consequences of the proceedings
 8 against him and to assist properly in his defense. Accordingly, the defendant is competent to
 9 stand trial.
10
     DATED: June 12, 2012.
11
12
13
                                                UNITED STATES DISTRICT JUDGE
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                                    2
